                          [S. C., infra, 101.]
This case falls without the ordinary rules of continuances. The Court will take notice of the great distance of Raleigh from this place. The defendant states that upon application he could not obtain the alteration, owing to the sickness of the secretary.
The design of judicial proceedings, is to do complete justice, which it appears cannot now be done in *Page 18 
this case; and as the defendant states, that he expects to be prepared at the next term, and appears to have used reasonable exertions to obtain his evidence. Let it be continued.
NOTE. — The second point in this case seems to rule that the courts will judicially know the distance between plate. In Hitev. State, 9 Yeates 381, it was held that the courts would judicially notice that towns are situated in particular counties. For other instances of facts of which the courts will take judicial cognizance, see Cooke, Appendix. — ED.